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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                             )
SECURITIES AND EXCHANGE COMMISSION,                          )
                                                             )
                               Plaintiff,                    )
       v.                                                    )       No.       19-cv-12127-WGY
                                                             )
SHUANG CHEN, et al.,                                         )
                                                             )
                                                             )
                               Defendants,                   )
WEIGUO GUAN, et al.,                                         )
                                                             )
                               Relief Defendants.            )
                                                             )

                       ASSENTED-TO MOTION TO DISMISS
               RELIEF DEFENDANT WV FORREST INVESTMENTS, LLC

       With the assent of relief defendant WV Forrest Investments, LLC (“WV Forrest”),

Plaintiff Securities and Exchange Commission (the “Commission”) hereby files this motion to

dismiss its case against WV Forrest pursuant to Fed. R. Civ. P. 41(a)(1)(B). As grounds for this

request, the Commission states as follows:

       1. On December 23, 2019, the Commission charged WV Forrest as a relief defendant

            with being unjustly enriched by receiving funds from the defendants’ fraudulent

            scheme, and the Commission sought disgorgement. Dkt. No. 74 (“Amended

            Complaint”) at ¶¶46, 83, 115-117, Prayer for Relief, ¶C. Disgorgement was the only

            relief sought against WV Forrest.

       2. In light of defendant Jiali Wang’s ownership of WV Forrest and the judgment

            recently entered by this Court against Wang, see Dkt. No. 214, the Commission no

            longer intends to seek disgorgement from WV Forrest and therefore there is no reason

            for WV Forrest to continue as a relief defendant in this matter.
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       WHEREFORE, the Commission respectfully requests that the Court dismiss the claims

pending in this civil action as to WV Forrest.

                                              SECURITIES AND EXCHANGE COMMISSION
                                              By its attorneys,

                                              /s/ Andrew Palid
                                              Andrew Palid (Mass Bar No. 664968)
                                                     Senior Enforcement Counsel
                                              Martin F. Healey (Mass Bar No. 227550)
                                                     Regional Trial Counsel

Dated: March 27, 2023

                                      Certificate of Service

        I, Andrew Palid, certify that on March 27, 2023, a true and correct copy of Plaintiff’s
Assented-To Motion to Dismiss Relief WV Forrest Investments, LLC was filed through the
Court’s CM/ECF system and, accordingly, the document will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing. In addition, all defendants
and relief defendants will be promptly served by email either directly, or through counsel, at
addresses attributed to them.

                                              /s/ Andrew Palid
                                              Andrew Palid




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